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 6
     Attorney for Defendant
 7
     BRETT TOWNSEND
 8

 9               IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                       EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,
12                                                    CR.S. No. 2:12-CR-0080 TLN
13                                Plaintiff,
                                                      STIPULATION AND ORDER TO
14                  v.                                MODIFY CONDITIONS OF
                                                      PRETRIAL RELEASE TO REMOVE
15
     BRETT TOWNSEND,                                  CONDITION #11 (DRUG TESTING)
16
                                 Defendant.
17

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19
            Brett Townsend is supervised by the Pretrial Services Agency.
20          Special Condition of Release number 11 requires Mr. Townsend to “submit to drug
21   and/or alcohol testing as approved by the pretrial services officer…”
22          Mr. Townsend has been on pretrial release since 2013, and have never tested
23   positive for the presence of illegal drugs. He requests that this condition be removed.
24          Neither Pretrial Services Officer Steve Sheehan, nor the Government have any
25   objection to the request.
26          Accordingly, the defense requests that condition number 11 be removed.
27

28                                                           Respectfully submitted,
                                                  1
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 1
     Dated: September 12, 2016                      /s/ David D. Fischer
 2
                                                    DAVID D. FISCHER
 3                                                  Attorney for Defendant
                                                    BRETT TOWNSEND
 4

 5
     Dated: September 12, 2016                      /s/ David D. Fischer for
 6                                                  HEIKO COPPOLA
                                                    Assistant United States Attorney
 7
                                                    Counsel for Plaintiff
 8

 9         IT IS SO ORDERED
10   Dated: September 13, 2016
11                                        _____________________________________
                                          CAROLYN K. DELANEY
12                                        UNITED STATES MAGISTRATE JUDGE

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